                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION


UNITED STATES OF AMERICA,                       )
                                                )
                           Plaintiff,           )
                                                )
vs.                                             ) No. 98-149-02-CR-W-FJG
                                                )     00-395-04-CR-W-FJG
XAVIER LIGHTFOOT,                               )
                                                )
                           Defendant.           )

                                            ORDER

      On July 7, 2005, the Court struck various jurors from the venire panel. Since that

time, additional requests have been submitted by jurors requesting to be excused from

jury service. After consultation with counsel, the following jurors are excused from

reporting: Juror Nos. 35, 89, 114, 150, 173. The reporting date for Juror Nos. 139 and

151 is hereby moved to Friday, July 22, 2005.



Date: July 19, 2005                             S/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                           Fernando J. Gaitan, Jr.
                                                United States District Judge




      Case 4:00-cr-00395-FJG        Document 734     Filed 07/19/05    Page 1 of 1
